                               :7 i   .   .    •           .f:    ' .    ' _   ~   '        '            '      '         '

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                                              EXHIBIT
                                                 ,.~.
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                                                   .;~ .                                 FILED 1st JUDICIAL.`DISTRICT CO'URT
                                                                                                              Santa, Fe County
                                                                                                                513/2023 10:OO.AM
                                                                                       KATHLEEN VIGIL C.LERK OF THE COURT
                                                                                                          Veronica Romero=Padilla
STATE OF NEW MEXICO                                               ;• s
COUNTY OF SANTA ,FE
FIRST JUDICIA.L D.ISTRICT


DOROTIiY NEWLAND                                                   CAUSE NO: D-101=CV-2023=61'009
                                                                 Case assigned to Wilson; Matthew .Justin
        Plaintiff,

V.

BLAZIN WINGS; INC. DB/A BUFFALO
WILD WINGS, # 609 AND OSCAR GARCIA

        Defendants


     COMPLAINT FOR NEGLIGENCE. RESULTIN'G IN PERSONAL.INJURIES
                     AND MONETA:RY DA:MAGES


        COMEB NOW, Dorothy Newland, by and .through her attorneys of recoi-d, Rachel

E. Montes, and brings' these claims for damages against Defendants; and fof her cause'of

action states the following:

                                              JURISICTION

        1. Plaintiff Dorothy Newland is a resident of the City of Weed; County of

           Otero and State of New Mexico.

        2. On or about 7uly 23., 2020, D.efendant, Blazin Wings, rnc. DXBfA Buffalo Vlrild

           Wings, #609 (BWW) owned, operat.ed, managed, and/or inaintairied or had a

           duty to owri; operate, manage and/or maintai'ii, both. indiv'tdually :and by'and/or

           through its agents, servants and/or employees; a certain premise.Iocated at 839' .

           S. White Sands Blvd., Alamagordo, NXi 8831'0; county of Otero, State ofNew

           Mexico 88310;-where the Plaintiff siiffered her injuries, harms and losses.

        3. On or about July 23, 2020, D.efendant; .Oscar Garcia was the general manager of
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         Blazin Wings, Ii1e. D/B/A Buffalo Wild Wings, #609 (BWW) and may be served.

         with process at the premise located at 839 S. White Sands Blvd.; Alamagordo;

         NM 88310, county. of Otero, State of Ne.w M.exico.88310..

      4. Defendant BWW is located at 839 S. Whiae S'ands Blvd:, Alamagordo,'NlV1

          883 10 County of Otero State of New :Me-xico and is ~a proper party and this

          Court has in'per.sonal jurisdiction over. DefendantBWW and subject matter

         jurisdiction in this matter.

      5. On or about July 23, 2020, .Defendant, BWW owned, operated; managed and/or

          maintained or had a duty to own; operate; manage and/or maintaiii; both

          individually and by and/or through its agents,, servants arid/or employ.ees; a

          certain prerriise located at 839 S. White Sands Blyd., Alamagordo, NM 88310

          County of Otero State of New Mexico where the Plaintiff suffered her injuries,

          harms and losses:

      6. Defendant BWW is a foreign corporation doing business in the State of.New

         Mexico by offering food and drink services to N1V1 residents, with a registered. .

          agent for service of Corporation Service Corripany, 1.10 E, Broadway Street;

         Hobbs, NM 88240.

      7. Defendant BWW is a proper party and this Courf has in personal j.urisdiction

          over DefendantBWW and subject matter jurisdiction in this matter..

      8. At the aforesaid time and place, Plaintiff was lawfully at. the said premises,

          bringing a monetary bene.fit to Defendant by eating lunch-.

      9. Jurisdiction is proper in this district court.

      10.Plaintiffrequests a trial by jury.

PLAINTIFF'S COMP.LA.INT FO.R.PERSONAL INJURY
                                                                                  Page 2 of 8
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                                     FACTUAL BACKGROUND

          The Pla'intiff iiicorporates herein by reference all precedirig paragraphs.

          11.The occurrence-giving rise to this action .occurred in the city of Alamagordo;

              County" of Otero; State of New .Mexieo on July 23, 2020:

           12.At the time of this incident, Dorothy Newland was ori BWW's property at 839 .

              S. White Sands Blvd., Alamagordo, NM 88310, to give them her business for, a

              meal.

           13.She and her patty were being escorted to the outdoot patio fo'r lunch by aii

              employee, representative or agent of BWW.

           14.At that time, BWW and Oscar Garcia had misters on outside which were

              spewing water.all: over.

           15.The BWW employee escorted Ms. Newland and her party to a table that had

              standing water on it, prompting her party to request. a different table that was

              dry.

           16.As IVIs. Newland turned to address the employee; her foot literally slipped out

~             from under her and she went down hard; suffering a fractured leg in. the

               process. It was then she found the entire floor to be wet and slick.

           17.Ms. Newland severely fractured her leg as a result of the floor being overly

              slick with water from the artificial misters being used by BWW and.,Oscar

               Garcia.

                              COUNT ONE: NECTLIGENCE OF BWW

           The Plaintiff iricorporates herein by reference all preceding paragraphs.



    P.LAINTIF'F'S COMP.LAINT FO.R .PERSONAL INJLTRY
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      18.On July 23, 2020, Defendarits' 'duty individually and/or by and througli, their

          agents, servants and%or employees at all times was to exercise ordinary care to .

          keep the premises, including the flooring inside AND out"side safe for use by

          Ms. Newl and.

      19.The Defendants, individually and/or by and through their agents,. servants andlor

          employees were charged with the duty to-exerc'ise reasonable care commensurate

          with the foreseeable risk of danger created by allowing water to collect, arid/or

          pool and an:d/or remain on slick, slippery flooring that created a danger to the

          public, especially an elderly person like Ms. Newland.

      20. With the waterthatwas allowed to collect, pool and remain on the.slick, slippery

          flooring, without being remedied, cleaned. up, or made safe, or warned aboiit,

          Defendants individually and/or by and through their agents, servants and/or

          employ.ees knew or reasonably should have known that it was foreseealite'that

          Plaintiff, lawfully on the premises for the purpose of bringing a monetary benefit.

          to Defendants, could be hurt by falling on the dangerous, slick, slippery flooring

          had Defendants reasonably inspected the premises

      21. Defendants indi.vidually and/or by and through the'ir agents; servants and/or

          employees breached their duties and failed to exercise reasonable care

          commensurate with the foreseeable risk of danger to the Plaintiff for failing to`

          safely maintain the flooring, failing to inspect and make safe, leading.Plaintiff

          into a dangerous slick slippery wet floor when they knew .it was slick and

          slippery, and were negligent in the followirig ways:



PLAINTIFT'S COMP.L.AINT FO.R .PERSONAL INJURY
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                  a.. Defendants failed to ekercise ordiriary, feasonable care in maintainirig

                     .safe flooring so as to preveiit the foreseeable risk.of harm caused to its

                      visitors and customers including f'laintiff.

                  b. Defendants failed to reasonably inspect the preinises.

                  c. Defendants failed to adequately and properly warn Plaintiff of the

                      dangerous, slick., sli.ppery and wet dangerous floor.

                  d. Defendants failed to recognize the dangerousness of the of the

                      situation tliey lead Ms. Newland into.


          22. As a direct and proximate result of Defendants' negligent acts set forth above;

              Plaintiff suffei`ed personal injuries; including but not liinited to a severely

              fractured leg requiring surgical repair.

          23 . As a further direct and proximate result ot:Defendants', its agents, servants and/or

              employees' negligent acts, Plaintiff lost her ability to perform household services

              in the past, all to her damage of such a sum to b.e proven.at a trial in this case.

          24. BWW and Oscar Garcia owed Plaintiff .a duty use ordiriary care to keep the

              premises safe, including the flooring, for Ms. Newland's use.

          25. BWW and Oscar Garcia knew, or should have known with a reasonable

              inspection, that the flooring and floor that. day was: a dangerous .condition,

              especially for senior citizens.

          26. BWW and Oscar Garcia breached its duty to k.eep the premises safe.




    P.LAINTIFF'S COIvIPLAINT FO.R .PERSONAL INJURY
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      27. BWW and Oscar Garcia is liable.for its, negligence and that of theit. empl.oyees

            who were acting within the scope of their employment when, the incident

            occurred.



                    COUNT ONE: NEGLIGENCE O.F OSCARR GARCIA '


      28.     Plaintiff would'show the Court thatthe negligent acts and omissions of

              Defendant, Oscar Garcia, as set out lierein, separately and collectively,

              was a.direct and proximate .cause of the incident in question and_ the

              resulting injuries and damages sustained by Plaintiff. Said acts and

              omissions by Defendant are, including, but_not limited to the following:

               a.       In failing to maintaiii the premises in a, reasonably safe
                        condition;

               b.       In. failing to provide a r".easonably safe environment for Plainti:ff;

               C.       In allowing Plaintiff to enter the premises as a consumei• in
                        unreasonably unsafe conditions;


      29.     Negligently allowing misters to collectwater on the patio causingunsafe.
              conditions for consumers;

      30.      In failing to warn Plaintiff thatthe misters were on and the floors were
               wet s thereby creating an unsafe condition and/or would. require.extra.
               ca re;

      31.      In failing to properly inspect and maintain the patio area in question to
               discover the unsafe condition;

      32.      In, failing to provide, follow and eriforce rules, regulations and/or'safety,
               instructions for the safety of its consumers;



PLAINTIFF'S COMP.LAINT FO.R.PERSONAL INNRY
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       33.       In failing to ensure 'that Plaintiff the consuriier was warned of the
                 hazardous conditions;

       34.       In failing to adequately monitor and/or superv,ise the patio where
                 consumers were seated in order to .make sure consurners were not
                 being exp,osed to d"arigerous, unsafe conditions and/or practices;

       35.       In failing to promulgate, impl.ement,. enforce, and/or ensure
                 compliance with adequate safety procedures, policies, and practices;

       36.       In failing to take all reasonable precautions for the safety of all.
                 consumers;

       37.       In failing'to elirriinate unsafe methods and.operations;

       38.       Negligent monitoring of the preinises;

       39.       Other acts and. omissions as shown in trial:


       40.       Ms. Newland.as a consumer and business irivitee for'Defendant Blazin.

Wings, Inc. and under the direction and/or supervision of Oscar Garcia, employ.ees of

Defendant Blazin Wings, Inc., sustained injury by the careless and. negligent acts of

Defendants.



       W.F[E.IaEFORE, Plaintiff, Dorothy Newland, prays for judgtrient,in her favot and

against the Defendants as follows:

       1. For such compensatory damages occasioned by the negligent conduct of

             Defendants as may be proved at a trial in this case;

       2. For pain and suffering;

       3. For her past and future medical. expenses incurred and to be incurred;

       4. For her lost household services;

       5. For her loss of enj oyment and quality of life;

PLAINT.I.FF'S COMPLAINT FOR .PERSONAL INJiTRY
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       6. For her cost of suit incurred herein; '

       7. ScaiTing and disfiburemerit'

       8. Dainages associated with the natur.e; .extent aiid duratiori of the tnjury; '

       9. For pre judbment and post judgment'interest at a rate allowed by law; on all'.-

           such amounts awarded from the date of" filing this- Coinplairit and aftet

           judgm.ent is eriter.ed; and

       10.For, such other and further relief the Court deems proper:,




                                               Rachel E. Montes
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                                               ATTORNEY F.OR PLAINTIFF




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